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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ARIZONA

PHOENIX DIVISION
MARIA GRIEGO and ROBERT ROMERO, ) No.
as statutory beneficiaries and parents of )
ROBERTO GRIEGO-ROMERO, )
(Deceased), )
) COMPLAINT
Plaintiffs, )
vs. )
) (Product Liability-Wrongful Death)
BMW OF NORTH AMERICA, LLC, )
)
Defendant. )
)

Plaintiffs, by and through their attorneys, file this Complaint against Defendant and allege as

follows:

NATURE OF THE ACTION

1. This is a civil action arising out of fatal injuries Roberto Griego-Romero (deceased)
(“Roberto”), sustained following a vehicle collision which occurred on September 15, 2020, while

operating a 2004 BMW 325i, Vehicle Identification Number (“VIN”) WBAEV334X4KR35699 (“Subject

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Vehicle”) in Maricopa County, Arizona. On this occasion, the Subject Vehicle, through no fault of

Roberto, was impacted by another vehicle in the right front causing the driver’s front airbag to deploy.

Due to a defect, the airbag module incorporated in the driver’s front airbag system, chosen, and

incorporated in the Subject Vehicle by BMW of North America (“BMW NA”), produced excessive

internal pressure causing the inflator to rupture. The inflator rupture resulted in metal fragments/shrapnel

to strike Roberto in the abdominal area causing catastrophic injuries ultimately resulted in his death.
PARTIES

2. At all relevant times, Plaintiffs Maria Griego and Robert Romero, as statutory beneficiaries
and parents of Roberto Griego-Romero (deceased), are residents of Maricopa County, Arizona.
(Hereinafter “Plaintiffs”). Plaintiffs bring this action pursuant to Ariz.Rev.Stat. §12-611-12 on their own
behalf and as statutory beneficiaries.

3. At all relevant times, Defendant BMW NA is, and was, a corporation organized and
existing under the laws of the State of Delaware with its principal place of business in Woodcliff Lake,
New Jersey. BMW NA transacts business and markets and sales products in the State of Arizona, including
Maricopa County. BMW NA is registered to do business with the Secretary of State of Arizona and can
be served by its agent, CT Corporation System, at 3800 North Central Avenue, #460, Phoenix, Arizona
85012.

JURISDICTION AND VENUE

4 The torts complained of in this Complaint occurred in Maricopa County, Arizona.

5. This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §1332(a)(1) because
the amount in controversy exceeds $75,000.00, exclusive of interest and costs, and diversity of citizenship
exists between the parties.

6. This Court has personal jurisdiction over Defendant BMW NA because, inter alia, it

regularly transacted, engaged in and derived revenue from business operations, including the marketing

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and placing the Subject Vehicle, driver’s front airbag system and related parts, into the stream of
commerce in the State of Arizona; it contracted to supply automotive products, including the Subject
Vehicle and component parts in the State of Arizona; it caused injuries and damages to Plaintiffs due to
acts and/or omissions which occurred in whole or in part within the State of Arizona; it contracted for
warranty repair and regulatory recall responsibilities with respect to vehicles operated and components
used in the State of Arizona; and it placed the Subject Vehicle and components into the stream of
commerce, with actual or constructive knowledge that same would eventually be found in the State of
Arizona. Therefore, personal jurisdiction over BMW NA is proper under Arizona law, and Due Process
Clauses of the Fifth and Fourteenth Amendments to the Constitution of the United States of America.

7. Venue is proper in the United States District Court for the District of Arizona, Phoenix
Division, pursuant to 28 U.S.C. §1391(b)(2) because a substantial part of the events or omissions giving
rise to these claims occurred in this District; Defendant caused harm to Plaintiffs and injuries resulting in
death to Roberto; all residents of this District under 28 U.S.C. §1391(c)(2) because they are subject to
personal jurisdiction in this District. Venue is also proper in this District pursuant to 18 U.S.C. §1965.

COMPLAINT

COUNT I
(Strict Liability)

8. Plaintiffs incorporate by reference all previous allegations as though specifically set forth
herein.

9, Defendant BMW NA imported, designed, manufactured, assembled, tested, or failed to
test, marketed, promoted, advertised, distributed, sold, and introduced into the stream of commerce the
Subject Vehicle and component parts.

10... BMW NA made the Subject Vehicle, including the driver’s front airbag system and
module, available for sale in a condition that was defective, unfit, and unreasonably dangerous for its

intended and foreseeable uses at the time it was sold to Plaintiffs for operation in the State of Arizona.

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11. In recognition of the defective, unfit, and unreasonably dangerous condition of the driver’s
front airbag system and module, the National Highway Traffic Safety Administration (“NHTSA”) issued
a recall, NHTSA Recall Number 15V318 on or about July 15, 2014, regarding certain BMW model 3
vehicles, including the Subject Vehicle, which states in part as follows:

Summary

“During air bag deployment in an accident, the driver’s front air bag module may produce
excessive internal pressure that could cause the inflator to rupture.”

Safety Risk

“Inflator rupture could result in metal fragments striking the driver or other passengers,
potentially resulting in serious injury or death.”

12. The defective and unreasonably dangerous condition of the Subject Vehicle, including the
driver’s front airbag system and module, resulted in a rupture of the inflator in the module during
deployment of the driver’s front airbag in a foreseeable frontal collision involving Plaintiffs’ deceased.
The inflator rupture resulted in metal fragments/shrapnel to strike Plaintiffs’ deceased in the abdominal
area causing catastrophic injuries ultimately resulting in his death.

13. As a direct and proximate result of the defects in the Subject Vehicle stated herein,
Plaintiffs have suffered injuries and damages.

WHEREFORE, Plaintiffs, Maria Griego and Robert Romero pray for judgment against Defendant
BMW NA, as follows:

1, General damages in an amount to be proven at trial;

2. Funeral and burial expenses;

3. Medical bills;

4, Value of lost wages and benefits Roberto would have earned if he had lived;

5. Loss of Roberto’s love, affection, comfort, companionship, and guidance;

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6. Emotional pain, grief, sorrow, anguish, stress and mental suffering already
suffered and probable to continue in the future;

7. For such sums as and for special damages as shall be evidenced at the time
of trial; and

8. For any other and further relief as the Court deems just and proper.
DATED this 28th day of July, 2022.

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